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                 EXHIBIT A
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          Defense Export Control Law, 5766-2007




                             Unofficial Translation




                       Office of the General Counsel

                              Ministry of Defense




                                    October 2007




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                     UNOFFICIAL TRANSLATION (October 29th , 2007)


                               Defense Export Control Law, 5766-2007

                                 Chapter A: Objective

Objective       1.      The objective of this law is to regulate state control of the
                        export of defense equipment, the transfer of defense know-how
                        and the provision of defense services, for reasons of national
                        security considerations, foreign relations considerations,
                        international obligations and other vital interests of the State.

                                 Chapter B: Definitions

Definitions     2.      In this law –

                        “Defense export               The defense export control
                        control division”             division at the ministry of
                                                      defense;

                        "Israeli citizen"             as implied in the Law of
                                                      Citizenship, 5712 – 1952;

                        "Means of control"            In a corporation - each one of the
                                                      following -

                                                      (1) The right to vote at a general
                                                          assembly of a company or
                                                          analogous entity of another
                                                          corporation;

                                                      (2) The right or the capacity to
                                                          appoint, alone or with another
                                                          entity, a Director or Director
                                                          General, and similar officers
                                                          in a corporation which is not
                                                          a company;

                                                      (3) The right to hold a share
                                                          granting the rights specified
                                                          in paragraphs (1) or (2) or a
                                                          similar right in a corporation
                                                          which is not a company;




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                 “Foreign entity”             A foreign state, including a
                                              person located in a foreign state;


                 “The director general”       The Director General of the
                                              Ministry of Defense;


                 “Wassenaar Arrangement” Wassenaar     Arrangement    on
                                         Export Controls for Conventional
                                         Arms and Dual-use Goods and
                                         Technologies;



                 "Transfer of defense         As applied in section 15(a)(2);
                  know-how”



                 "The licensing authority" The Director General or the Head
                                           of the Defense Export Control
                                           Division as authorized by the
                                           Director General for the purpose
                                           of this law, partially or fully, and,
                                           with regard to export licenses for
                                           defense equipment in transit and
                                           transfer licenses to the Palestinian
                                           Civil jurisdiction areas - the
                                           Director General or the Head of
                                           the Defense Export Control
                                           Division, or anyone authorized
                                           by them;


                 “Criminal law”               The Criminal Law, 5736-1977;



                 "Defense know-how"       (1) Information that is required for
                                              the development or production of
                                              defense equipment or its use,
                                              including information referring to
                                              design, assembly, inspection,
                                              upgrade      and     modification,
                                              training, maintenance, operation
                                              and repair of defense equipment
                                              or it's handling in any other way
                                              as well as technology included in
                                              the order under paragraph (1) of


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                                              the     “Controlled     Dual-use
                                              Equipment” definition and in the
                                              orders under the “Missile
                                              Technology”     and    “Defense
                                              Equipment” definitions; for this
                                              purpose, information – including
                                              technical data or technical
                                              assistance;


                                          (2) Know-how relating to defense
                                              forces, including know-how
                                              concerning their organization,
                                              build-up and operation, combat
                                              doctrine or training and drill
                                              methods defense policy or their
                                              methods of action, as well as
                                              know-how relating to defense
                                              policy anti-terror combat and
                                              security methods;



                 "Export of defense           Transfer outside of Israel,
                 equipment”                   including      transfer   to the
                                              Palestinian Civil Jurisdiction
                                              areas, as well as the transfer
                                              within Israel to a diplomatic or
                                              consular representation of a
                                              foreign state;



                 “Defense export”             Each of the following:

                                              (1)    Export     of     defense
                                                     equipment;

                                              (2)    Transfer of defense know-
                                                     how;

                                              (3)    Provision    of   defense
                                                     services;


                 "Production"                 Including             production
                                              engineering,         integration,
                                              assembly, inspection, trials and
                                              quality assurance.



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                 "Defense forces"            Military forces or police forces of
                                             a state, as well as other entities of
                                             a state engaging in defense,
                                             internal security or intelligence;


                 “Basic scientific           Trial or theoretical work mainly
                  research”                  intended      to     obtain    new
                                             knowledge        regarding    basic
                                             principles       of      observable
                                             phenomena and facts, and which
                                             is not aimed at a particular goal
                                             or target;


                 “Information in the         Information in the public domain,
                  public domain”             which was legally made available
                                             to the public, without restrictions
                                             on its further dissemination;
                                             intellectual property ristrictions
                                             do not exempt information from
                                             being in the public domain;


                 "Defense export             As applied in section 3;
                  registry"


                 "Interim user"              Anyone in possession of defense
                                             equipment or defense know-how,
                                             during the period of time from
                                             leaving the holder of a defense
                                             export license until transferred to
                                             the end-user;

                 "End-user"                  The final entity that is destined to
                                             receive the defense equipment,
                                             defense know-how or defense
                                             service, regarding which a license
                                             is requested under chapter D or
                                             was such granted;


                 "Technical data"            Prototypes,     plans,    sketches,
                                             models,      formulas,      tables,
                                             engineering       content      and
                                             specifications, written operating
                                             instruction manuals or manuals



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                                             documented on magnetic, optic
                                             or any other media;

                 "Technical assistance"      Instruction,      qualification,
                                             training,         consultation,
                                             transmission of proficiency or
                                             technical data;


                 “Defense export             A transaction involving a defense
                 transaction”                export;


                 "Development"               Including all the pre-production
                                             stages, including design, design
                                             study and its analysis, design
                                             perception,     assembly     and
                                             prototype trial, experimental
                                             production sequences and design
                                             data, process of transforming the
                                             design data into a product,
                                             configuration design, integration
                                             and layout sketches;

                 “Defense marketing          As applied in section 14;
                  action”


                 "Defense equipment"         Missile   equipment,   combat
                                             equipment and controlled dual-
                                             use equipment;

                 “Defense equipment in       As applied in section 19;
                  transit”


                 “Dual-use equipment”        Materials and equipment initially
                                             intended for civilian use and
                                             which are also compatible for
                                             defense use”



                 "Controlled dual-use        One of the following:
                  equipment"
                                             (1)    Dual-use equipment listed
                                                    in    the     Wassenaar
                                                    Arrangement    Dual-Use
                                                    Goods and Technologies
                                                    list,  as    periodically


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                                                    updated, intended for a
                                                    defense use, or other dual-
                                                    use equipment, as shall be
                                                    set forth in the Minister's
                                                    order;

                                             (2)    Regarding section 20 –
                                                    dual-use equipment as
                                                    shall be set forth in the
                                                    Minister's order;


                 "Missile equipment"         Equipment         and       software
                                             regarding missiles, set forth in
                                             the appendix on equipment,
                                             software and technologies of the
                                             International Missile Technology
                                             Control       Regime       (MTCR),
                                             periodically updated, as shall be
                                             set forth in the Minister's order;


                 "Combat equipment"          Equipment included in the
                                             Munitions List of the Wassenaar
                                             Arrangement, as periodically
                                             updated, or other equipment
                                             initially intended for a defense
                                             use, as shall be set forth in the
                                             Minister's order;


                 “Transfer license to the    As applied in section 20;
                  Palestinian Civil
                  Jurisdiction areas”


                 “Re-transfer license”       As applied in section 17;


                 “Defense export license”    As applied in section 15;


                 “License for defense        As applied in section 19;
                 equipment in transit”


                 “Defense marketing          As applied in section 14;
                  license”




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                 “End-use modification       As applied in section 18;
                  license”


                 “Brokering license”         As applied in section 21;


                 "Palestinian Civil          Judea and Samaria, excluding the
                  Jurisdiction areas”        settlements     and      military
                                             compounds as implied in the
                                             agreement, as well as the
                                             complete area of the Gaza Strip;
                                             “agreement” – the Israeli-
                                             Palestinian Interim Agreement
                                             regarding the West Bank and the
                                             Gaza Strip that was signed in
                                             Washington between the State of
                                             Israel and the Palestinian
                                             Liberation Organization, on the
                                             4th of Tishrei 5756 (28th of
                                             September 1995), including its
                                             appendices      and       related
                                             documents;


                 "Use"                       Including operation, installation,
                                             maintenance,      repair      and
                                             renovation.


                 “Defense use”               Use made by defense forces or
                                             intended for them;


                 "End-use"                   Use of the defense equipment,
                                             defense know-how or reception
                                             of defense services, by the end-
                                             user;


                 “Defense service”           As applied in section 15(a)(3);


                 "Control"                   With regard to a corporation - the
                                             capacity, whether on one's own
                                             or along with others, to steer the
                                             corporation's activity, with the
                                             exception of the capacity which
                                             derives only from the fulfillment



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                                              of the position of Director or of
                                              another officer in the corporation;
                                              Without derogating from the
                                              generality of the aforesaid -

                                              (1)    A person shall be
                                                     considered to be in
                                                     control of the corporation
                                                     if he/she holds half or
                                                     more of a certain type of
                                                     means of control in the
                                                     corporation;

                                              (2)    It is held that the person
                                                     controls the corporation if
                                                     one of the following is
                                                     fulfilled:

                                                     (a)     He/she holds the
                                                             largest part of any
                                                             kind of means of
                                                             control in the
                                                             corporation at any
                                                             time, or there is no
                                                             other entity, which
                                                             individually owns
                                                             or owns with
                                                             others a means of
                                                             control of any
                                                             kind, at a share
                                                             that        exceeds
                                                             his/her holdings of
                                                             the same kind of
                                                             means of control;

                                                     (b)     He/she has the
                                                             capacity to prevent
                                                             business decision
                                                             making in the
                                                             corporation      by
                                                             virtue     of     a
                                                             provision in the
                                                             code or in the
                                                             contract, with the
                                                             exception of the
                                                             power to prevent
                                                             decision making
                                                             regarding       the
                                                             issuing of means
                                                             of control in the


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                                                                      corporation or the
                                                                      power to prevent
                                                                      decision making
                                                                      regarding the sale
                                                                      or liquidation of
                                                                      most     of    the
                                                                      corporation
                                                                      business or a
                                                                      material change
                                                                      therein;



                    "Israeli resident "               As defined in the Population
                                                      Registry Law, 5725-19652;


                    “Foreign corporation”             A corporation other than an
                                                      Israeli corporation;


                    “Israeli corporation”             One of the following:

                                                      (1) A corporation incorporated in
                                                          Israel;


                                                      (2) A corporation that has its
                                                          center of business in Israel,
                                                          and which the control over it
                                                          is, directly or indirectly, by an
                                                          Israeli citizen or resident;


                    "The Minister"                    The Minister of Defense.




                     Chapter C: Defense Export Registry


Registration        3.     (a)    (1)          No person shall be entitled to receive a
obligation                                     defense marketing license or a defense
with the defense                               export license, unless he/she is
export registry                                registered with the registry administered
                                               by the licensing authority (in this law -
                                               defense export registry).




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                                  (2)        No person shall be entitled to receive a
                                             license for brokering between foreign
                                             entities, unless he/she is registered with
                                             the defense export registry as a broker
                                             between foreign entities.


                           (b)    The licensing authority is authorized to request,
                                  from a person wishing to register with the
                                  defense export registry, any relevant information
                                  or document that it requires for the purpose of
                                  reaching a decision regarding registering.


Refusal to register 4.     (a)    The licensing authority is authorized to refuse to
and removal of                    register a person in the defense export registry,
existing registration             to approve the registration under conditions, as
                                  well as to remove his/her registration from the
                                  defense export registry or to suspend the
                                  registration, and in so doing may take into
                                  account, amongst others, the following
                                  considerations:

                                  (1)        The applicant’s criminal record;

                                  (2)        The applicant's violation of the
                                             provisions of this law or the violation of
                                             the terms of a license that was issued
                                             under Chapter D, or the violation by the
                                             applicant of an order under law or of the
                                             terms of a license given before the entry
                                             into force of this law, regarding an action
                                             regulated under this law;

                                  (3)        If the applicant has not met the rules set
                                             by the Minister in the regulations;

                                  (4)        If the applicant is a corporation, the
                                             licensing authority is entitled to take into
                                             account     considerations       that    are
                                             enumerated in sections (1) to (3) above
                                             also with regard to the controlling
                                             shareholder, interested party and officers
                                             in the said corporation. For this purpose,
                                             “interested party”, “officer” – as defined
                                             in the Corporations Law, 5758 – 1999.


                           (b)    The licensing authority shall not make its
                                  decision under this section, prior to giving the


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                                  person regarding whom the decision is made the
                                  opportunity to voice his/her arguments.


Contestation       5.      The person regarding whom a decision was taken under
                           section 4, by the director general in his capacity as
                           licensing authority, may demand a review of the
                           decision by the director general, and regarding such
                           decision taken by the director of the defense export
                           control division, - before the director general – all as
                           set forth in the minister’s order.



                             Chapter D: Licensing

                 Sign A: General Provisions regarding Licenses


License application 6.     (a)    An applicant for a license under this chapter,
                                  will include in his/her application, details,
                                  declarations and documents as set forth by the
                                  minister in regulations.

                           (b)    The licensing authority may, in addition to the
                                  details and documents set forth in section (a)
                                  above, demand any information, document or
                                  defense equipment required for its decision
                                  regarding the license application, and, amongst
                                  others –

                                  (1) The applicant’s declaration regarding the
                                      identity of the end-user and the interim
                                      users, and the intended end-use of the
                                      defense equipment, defense know-how or
                                      defense service regarding which the license
                                      is requested;

                                  (2) A declaration by the end-user regarding the
                                      intended end-use of the defense equipment,
                                      defense know-how or defense service
                                      regarding which the license is requested;

                                  (3) A certificate by the government of the state
                                      where the end-user is located, regarding the
                                      identity of the end-user and the intended
                                      end-use of the defense equipment, defense
                                      know-how or defense service regarding
                                      which the license is requested;



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                                   (4) A certificate by the government of state
                                       where the end-user is located, authorizing
                                       the import of the defense equipment, defense
                                       know-how or defense service regarding
                                       which the license is requested, to that state.


License stipulations 7.     (a)    The licensing authority may include stipulations
                                    in a license issued under this chapter, including
                                   stipulations to be fulfilled prior to the activity
                                   included in the license and including stipulations
                                   intended to increase oversight on the license
                                   holder, and is also authorized, at all times, to add
                                   stipulations to a license, to remove or amend
                                   stipulations, for the purpose of fulfilling the
                                   objectives of this law and its provisions.

                            (b)    Without derogating from the above, a license
                                   under this chapter may include the following
                                   stipulations:

                                    (1) The technical characteristics and scope of
                                        the defense equipment, defense know-how
                                        or defense service provided under the
                                        license, and the scope of the licensed
                                        transaction;

                                    (2) The intended end-use of the defense
                                        equipment, defense know-how or defense
                                        service regarding which the license is
                                        requested, and the identity of the end-user
                                        or the interim users of the said equipment,
                                        know-how or service.


Refusal to grant     8.     The licensing authority is authorized to refuse to grant
licenses                    a license under this chapter or to condition the granting
                            of a license under certain stipulations, taking into
                            account, amongst others, the following considerations:

                            (1)    The applicant’s criminal record;

                            (2)    The applicant's violation of the provisions of this
                                   law or the violation of the terms of a license that
                                   was issued under Chapter D, or the violation by
                                   the applicant of an order under law or of the
                                   terms of a license given before the entry into
                                   force of this law, regarding an action regulated
                                   under this law;



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                              (3)    If the applicant has not met the rules set by the
                                     Minister in the regulations;

                              (4)    If the applicant is a corporation, the licensing
                                     authority is entitled to take into account
                                     considerations that are enumerated in sections
                                     (1) to (3) above also with regard to the
                                     controlling shareholder, interested party and
                                     officers in the said corporation. For this purpose,
                                     “interested party”, “officer” – as defined in the
                                     Corporations Law, 5758 – 1999;

                              (5)    The end-users' observance of the obligations
                                     undertaken under section 6(2);

                              (6)    Considerations regarding the type of defense
                                     equipment, defense know-how or defense
                                     service for which the license is required;

                              (7)    Considerations regarding the end-user or the
                                     end-use.

                              An announcement regarding a decision by the licensing
                              authority under this section will be made known to the
                              applicant in a manner and time period as set forth by the
                              minister in regulations.



License revocation       9.   (a)    The licensing authority is authorized to revoke a
and suspension or                    license that is granted pursuant to this chapter or
restriction of a license             to suspend it including on probation or
                                     according to stipulations it shall set forth, as
                                     well as to restrict the license, taking into
                                     account, amongst others, the considerations
                                     listed in section 8 above.

                              (b)    The licensing authority shall not cancel, suspend
                                     or restrict a license, prior to affording the license
                                     holder the opportunity to voice his/her
                                     arguments.

                              (c)    Despite the provisions in section (b), under
                                     special circumstances and due to urgency, the
                                     licensing authority may suspend or restrict a
                                     license prior to affording the license holder to
                                     voice his/her arguments.

                              (d)    Reasons of state security, foreign relations
                                     considerations or international obligations will


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                                    not constitute as an argument against the
                                    licensing authority’s decision under this section.

                             (e)    An announcement regarding a decision by the
                                    licensing authority under this section will be
                                    made known to the applicant in a manner and
                                    time period as set forth by the minister in
                                    regulations.


Contesting the         10.   (a)    In case of refusal to grant a license under section
refusal to issue                    8, or revocation, suspension or restriction of a
a license, or its                   license under section 9, the applicant or license
revocation,                         holder may contest such decision of the
suspension or                       licensing authority in a manner as set forth in
restriction                         section (b) below.

                             (b)    A decision on the contest will be taken after
                                    consultation with the advisory committee, by
                                    one of the following as detailed below, in a
                                    manner and time period as set forth by the
                                    minister in regulations:

                                    (1) Regarding a decision taken by the director-
                                        general – through a review before the
                                        director-general;

                                    (2) Regarding a decision by the director of the
                                        defense export control division – by the
                                        director-general;

                                    (3) Regarding a decision on an export license
                                        for defense equipment in transfer, or
                                        regarding a transfer license to the Palestinian
                                        Civil Jurisdiction areas, taken by the person
                                        authorized by the director-general or the
                                        director of the defense export control
                                        division – by a person authorized by the
                                        director-general.

                             (c)    Reasons of state security, foreign relations
                                    considerations or international obligations will
                                    not constitute as an argument against the
                                    licensing authority’s decision under this section.


General licenses       11.   Licenses pursuant to this chapter may be general, or
or specific licenses         granted for types of activities or transactions involving
                             defense equipment, defense        know-how or defense



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                           services or specific activities, transactions, equipment,
                           know-how or services.


Prohibition against 12.    A license granted under this chapter, including
transfer, lien or          any rights vested in it, is non-transferable, and
seizure of the             may not be liened or seized.
license



                                 Sign B: Licenses



Actions requiring   13.    Actions listed under this sign require a license from the
licensing                  licensing authority, and any such action shall be in
                           accordance with the stipulations in the license, unless
                           otherwise set forth under this law.


Defense marketing 14.      (a)      An Israeli citizen, an Israeli resident or an Israeli
license                             corporation shall not conduct a defense
                                    marketing activity without a marketing license
                                    (hereinafter – defense marketing license) that is
                                    granted pursuant to this law, and pursuant to the
                                    conditions of the marketing license; in this law –

                           “Defense marketing activity” - An activity aimed at
                           promoting a defense export transaction, including
                           brokering activity towards a defense export transaction,
                           whether in Israel or outside of Israel, in writing or
                           orally or via any other means, directly or indirectly, in
                           exchange for remuneration or not, whether transfer of
                           defense know-how occurs or not, or the holding of
                           negotiations towards such transaction; the activity can
                           be geared toward a certain customer or toward a general
                           public, and may or may not result in a defense export
                           transaction.

                           “Brokering activity towards a defense                  export
                           transaction” – one of the following activities:

                                 (1) Forging ties between parties to contract in a
                                     defense export transaction;

                                 (2) Participating in negotiations toward a contract
                                     between the parties involved in the defense
                                     export transaction;



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                                 (3) Representation of a party involved in the
                                     defense export transaction;

                           (b)      The licensing authority is authorized to exempt
                                    an applicant from the obligation of receiving a
                                    defense marketing license under this section, for
                                    categories of defense marketing activities or for
                                    certain defense marketing activities, as set forth
                                    in regulations.

                           (c)      If a defense marketing license was granted to a
                                    corporation included in the Minister’s order
                                    issued under item 3 of the first annex of the
                                    Security Regulation in Public Bodies Law,
                                    5757-1998, an individual license for each
                                    employee of that corporation shall not be
                                    required, regarding the licensed defense
                                    marketing activity.


Defense export   15.       (a)      A person as listed below shall not be involved in
license                             the following activities, unless he/she received a
                                    license for such activity from the licensing
                                    authority (in this law – defense export license)
                                    and pursuant to the provisions of that license:


                                    (1)        Export of defense equipment;

                                    (2)        Transfer of defense know-how through
                                               any means, including orally - from Israel
                                               to outside of Israel, or in Israel to a
                                               person who is neither an Israeli citizen or
                                               an Israeli resident, or to a foreign
                                               corporation; however, transfer of defense
                                               know-how relating to equipment
                                               included in section (1) of the “controlled
                                               dual-use equipment” definition that is
                                               information in the public domain as well
                                               as basic scientific research, does not
                                               require a defense export license, unless
                                               the licensing authority requires, in
                                               regulations, that transfer of such defense
                                               know-how or such type of defense know
                                               how or such basic scientific research
                                               requires a defense export license.

                                    (3)        Provision of a defense service - if the
                                               service provider is an Israeli citizen or an
                                               Israeli corporation - outside of Israel, or


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                                              within Israel to a person who is not an
                                              Israeli citizen or an Israeli resident, or to
                                              a foreign corporation; in this law,
                                              “defense service” – a service relating to
                                              defense equipment, including its design,
                                              development, production, assembly,
                                              review, upgrade, modification, repair,
                                              maintenance, operation and packaging,
                                              as well as instruction related to said
                                              equipment, and service regarding
                                              defense         know-how,          including
                                              instruction, training and consulting
                                              regarding said know-how.


                             (b)    The licensing authority may exempt an applicant
                                    from the requirement to obtain a defense export
                                    license under this section, with regard to types
                                    of defense exports or a certain defense export, as
                                    set forth in regulations.


Defense marketing       16. The licensing authority shall not grant a defense export
license required to         license for a defense export transaction unless the
obtain a defense export     applicant obtained a defense marketing license for that
license                     transaction, unless an exemption from the requirement
                            to obtain a defense marketing license was set forth
                            pursuant to section 14(b); a defense marketing license
                            that was granted does not obligate the licensing
                            authority to grant a defense export license for the same
                            transaction.


Re–transfer          17.     A defense export license holder whose license includes
license                      a stipulation with regard to the identity of the end-user,
                             shall not allow the end-user to transfer the defense
                             equipment or the defense know-how in his possession to
                             a different person, unless the defense export license
                             holder obtains a license for such transfer from the
                             licensing authority (in this law – re-transfer license),
                             and in accordance with the provisions of said license.


End-use modification 18.     A defense export license holder whose license includes
license                      a stipulation with regard to the end-use, shall not allow
                             the end-user to modify the end-use of the defense
                             equipment or the defense know-how in his possession,
                             unless the defense export license holder obtains a
                             license for such modification from the licensing



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                            authority (in this law – end-use modification license),
                            and in accordance with the provisions of said license.


License for defense 19.     (a)    A person shall not export equipment in transit
equipment in transit               without obtaining a license from the licensing
                                   authority (in this law – license for export of
                                   defense equipment in transit), and in accordance
                                   with the provisions of said license; in this law,
                                   “defense equipment in transit” - defense
                                   equipment originating from outside of Israel,
                                   through one of the border stations as implied in
                                   section 7 of the Entry Into Israel Law, 5711-
                                   1952, on its way outside of Israel, as well as said
                                   defense equipment entering into Israel or
                                   intended to enter into Israel in other ways, on its
                                   way outside of Israel, as long as it is unloaded
                                   from its means of transportation prior to its
                                   departing from Israel.

                            (b)    The licensing authority may exempt an applicant
                                   from the requirement to obtain a license for
                                   export of defense equipment in transit under this
                                   section, with regard to types of defense
                                   equipment in transit or a specific defense
                                   equipment in transit, as set forth in regulations.

                            (c)    The provisions of section 15 shall not apply to
                                   an export of equipment as described in this
                                   section.


License for transfer to 20. (a)    A person shall not transfer controlled dual-use
Palestinian Civil                  equipment included in an order pursuant to
Jurisdiction areas                 paragraph (2) of the “controlled dual-use
                                   equipment” definition unless he has obtained a
                                   license for such transfer from the licensing
                                   authority, (in this law – transfer license to the
                                   Palestinian Civil Jurisdiction areas), and in
                                   accordance with the provisions of said license.

                            (b)    Section 7 of this law shall not apply to the
                                   transfer pursuant to this paragraph.


License for Brokering 21. (a)      An Israeli resident or an Israeli corporation shall
Between Foreign                    not engage in a brokering activity between
Entities                           foreign entities, unless they have obtained a
                                   license from the licensing authority (in this law
                                   – license for brokering between foreign entities),


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                                and in accordance with the provisions of that
                                license; however, the provisions of this section
                                do not derogate from the provisions of section
                                15 of the Criminal Law; for this purpose –

                                “brokering between foreign entities activity” -
                                one of the following activities, taking place in
                                Israel or outside of Israel, whether the combat
                                equipment or the defense equipment regarding
                                to which the said activity occurs leaves Israel
                                before the activity or not:

                                (1)        Forging ties between parties to contract
                                           in a transaction regarding the transfer of
                                           combat equipment or missile equipment;
                                           from one foreign state to another foreign
                                           state;

                                (2)        Participating in negotiations toward a
                                           contract between parties in a transaction
                                           as described in paragraph (1) above;

                                (3)        Representation of a party to a transaction
                                           as described in paragraph (1) above;

                                (4)        Purchasing of defense equipment or
                                           defense know-how for the purpose of of
                                           contracting in a transaction as described
                                           in paragraph (1) above;

                                (5)        Assisting activities aimed to realize a
                                           transaction as described in paragraph (1)
                                           above, as set forth by the minister in
                                           regulations.

                         “combat equipment or missile equipment” – including
                         defense know-how or a defense service regarding such
                         equipment.

                         (b)    The licensing authority may exempt an applicant
                                from the requirement to obtain a license for
                                brokering between foreign entities under this
                                section, with regard to types of brokering
                                between foreign entities activities or with regard
                                to types of combat equipment and missile
                                equipment, or with regard to brokering activities
                                between certain foreign entities, as set forth in
                                regulations.




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Brokering between 22.      (a)    Without derogating from the provisions of
foreign entities                  section 21, no Israeli citizen, Israeli resident or
subject to Security               Israeli corporation shall engage in brokering
Council resolution                activities between foreign entities in violation of
                                  a resolution of the Security Council of the
                                  United Nations (in this law – the security
                                  council) forbidding or limiting the transfer of
                                  combat equipment or missile equipment to those
                                  entities.

                          (b)     Security council resolutions as described in
                                  section (a) shall be published on the Licensing
                                  Authority’s website and in the official gazette.


        Chapter E: The Licensing Authority and Advisory Committees


Tasks of the        23.    The licensing authority shall control defense export
licensing                  according to the provisions of this law, shall administer
authority                    the defense export registry according to the provisions
                           of chapter C, shall decide on license applications
                           submitted under chapter D, and shall conduct other
                           activities it requires under this law.


Advisory committees 24.   (a)     The minister shall appoint advisory committees
                                  to make recommendations to the licensing
                                  authority with regards to the granting of defense
                                  marketing licenses, re-transfer licenses, licenses
                                  for end-use modification, licenses for export of
                                  defense equipment in transit and licenses for
                                  brokering between foreign entities (in this law –
                                  advisory committees):

                           (b)    And these are the members of the advisory
                                  committees:

                                  (1)        Employees of the ministry of defense
                                             appointed by the minister, one of whom
                                             shall serve as chairperson;

                                  (2)        Two employees of the ministry of
                                             foreign affairs;

                                  (3)        In advisory committees regarding
                                             controlled dual-use equipment – an
                                             employee of the ministry of industry,



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                                              trade and labor appointed by the minister
                                              of industry, trade and labor;

                                   (4)        Employees of defense forces, as
                                              determined by the minister, authorized
                                              for the purpose of this section by the
                                              head of the defense force where they are
                                              employed; for this purpose, “defense
                                              forces” – each of the following: Israel
                                              Defense Forces, Israel Security Agency,
                                              Mossad, Israel Police and the
                                              Penitentiary Service.

                            (c)    A member of an advisory committee can be
                                   appointed only after it was determined by the
                                   authorized official under the Israel Security
                                   Agency Law, 5761-2002, that he holds the
                                   required security clearance for that position.



         Chapter F: Coordination with the Ministry of Foreign Affairs



Participation of     25.    Each of the advisory committees shall include as its
the Ministry                members employees of the ministry of foreign affairs,
of Foreign Affairs          as set forth in section 24.
in the advisory
committees


Coordination with    26.    (a)    Should the representative of the minister of
The Ministry of                    foreign affairs voice his/her reservation
Foreign Affairs                    regarding an advisory committee's
regarding granting                 recommendation and the advisory committee
of licenses                        considered not to take into account this
                                   reservation, or should the advisory committee
                                   recommend the granting or the refusal to grant a
                                   defense marketing license, a re-transfer license,
                                   an end-use modification license, a license for
                                   export of defense equipment in transit or a
                                   license for brokering between foreign entities,
                                   and the licensing authority should decide after
                                   consideration      not      to      accept    this
                                   recommendation, the reservation or committee
                                   recommendation, as appropriate, will be brought
                                   before the director of the defense export control
                                   division at the ministry of defense and the
                                   director of the strategic affairs division at the


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                                      ministry of foreign affairs for their joint
                                      deliberation.

                               (b)    In case the joint deliberation as described in
                                      paragraph (a) did not reach a conclusion, the
                                      matter shall be resolved between the director-
                                      general and the director general of the ministry
                                      of foreign affairs; should no agreement be
                                      reached between the director-general and the
                                      director general of the ministry of foreign
                                      affairs, the matter will be resolved by the sub-
                                      committee of the ministerial committee for
                                      national security as implied in section 47(c).


Consultation with       27.    The licensing authority shall consult with the
The Ministry of                representative of the ministry of foreign affairs in a
Foreign Affairs                manner set forth in regulations, prior to the issuance of
on export licenses             an export license.



        Chapter G: Reporting Requirements and Inspection Authority


Reporting               28.    (a)    A license holder under chapter D shall submit to
obligations                           the licensing authority written reports once a
                                      year regarding his activities requiring a license
                                      under chapter D, in accordance with forms set
                                      forth in regulations.

                               (b)    The licensing authority may require a person
                                      who was exempt from the requirement of
                                      obtaining a defense marketing license under
                                      chapter D, to submit reports as set forth in
                                      section (a) above, regarding his defense
                                      marketing activities.

                               (c)    The aforesaid reports in section (a) and section
                                      (b) shall include amongst others details
                                      regarding the defense marketing or defense
                                      export activities, as applicable, including
                                      defense marketing destinations, details regarding
                                      the identity of the interim users and the end-
                                      user, and regarding the end-use of the defense
                                      equipment, defense know-how or the defense
                                      service, as applicable.

                               (c)    A corporation registered in the Defense Export
                                      Registry shall notify the licensing authority


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                                     about any change in the controlling shareholders
                                     of the corporation.


Inspection             29.    For the purpose of supervision of execution of
authority                     the provisions of this law, the licensing authority or
                              whom it shall authorize amongst the employees of the
                              ministry of defense, is authorized –

                              (1)    to demand from any relevant person included in
                                     the registry to supply it with information or
                                     documents concerning a person conducting an
                                     activity requiring a license under chapter D; for
                                     this purpose “documents” – including a
                                     certification, report or ledger or output as
                                     implied in the Computers Law, 5755 – 1995;

                              (2)    to enter any premises if it has reasonable
                                     grounds to assume that a person included in the
                                     registry or someone on his behalf are keeping
                                     defense equipment or defense know-how or are
                                     providing a defense service at that locations, in
                                     order to check whether the provisions of this law
                                     are fulfilled, as long as it does not enter a place
                                     that is used for solely for residential purposes
                                     unless a court injunction is issued; entry onto a
                                     premises under this section will take place with
                                     the accompaniment of the holder of the property
                                     or his representative, however refusal to the
                                     request of the representative of the licensing
                                     authority to accompany him, can not hinder the
                                     licensing authorities’ activity under this section.



Inspecting defense     30.    (a)    The licensing authority or whom it shall
equipment                            authorize amongst the employees of the ministry
                                     of defense for this purpose is authorized to
                                     request defense equipment from its owner or
                                     holder for the purpose of inspecting whether the
                                     defense equipment meets the conditions of the
                                     license that has been granted pursuant to this
                                     law.

                              (b)    Inspection of the defense equipment by the
                                     licensing authority or whom it has authorized for
                                     this purpose under section (a), will be
                                     conducted, if possible, in the offices of the
                                     holder of the defense equipment or in the offices
                                     of the licensing authority provided the defense


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                                     equipment will be returned to its holder no later
                                     than fifteen days from the day it was taken.


Obligation to keep   31.      (a)    An export license holder shall administer a
records                              record of the information concerning any
                                     defense export transactions that he/she has
                                     conducted. The said record shall include details
                                     concerning the licensed defense equipment,
                                     defense know-how or defense service, as well as
                                     details regarding the interim users and the end-
                                     user, and the end-use of the licensed defense
                                     equipment, defense know-how or defense
                                     service, dates when the defense export was
                                     carried out and additional details as shall be set
                                     forth in regulations.

                              (b)    The defense export license holder will keep the
                                     record as described in section (a) above, as well
                                     as any document related to the executed defense
                                     export transaction, for ten years from the date of
                                     completion of the defense export; manner of
                                     record keeping shall be set forth in regulations.


                           Chapter H : Criminal Penalties


Offences             32.       (a)      A person who has committed one of the
                                        following will be sentenced to – three years'
                                        imprisonment or a fine which is thirty times
                                        greater than the fine set out in section
                                        61(a)(4) of the Criminal Law:


                                              (1)   Commits an act of defense
                                                    marketing without holding a
                                                    defense marketing license or not
                                                    pursuant to the conditions of the
                                                    license, contrary to the provisions
                                                    of section 14;

                                              (2)   Carries out a defense export,
                                                    without holding a defense export
                                                    license or not pursuant to the
                                                    conditions of the license, contrary
                                                    to provisions of section 15;

                                              (3)   Exports defense equipment in
                                                    transit without holding a license


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                                                 for exporting defense equipment
                                                 in transit or not pursuant to the
                                                 conditions of the license, contrary
                                                 to the provisions of section 19.

                                           (4)   Transfers to the Palestinian Civil
                                                 Jurisdiction areas controlled dual-
                                                 use equipment included in an
                                                 order issued under paragraph (2)
                                                 of the “controlled dual-use
                                                 equipment” definition without
                                                 holding a license for transfer to
                                                 the Palestinian Civil Jurisdiction
                                                 areas or not pursuant to the
                                                 conditions of the license, contrary
                                                 to section 20.

                                           (5)   Engages in brokering between
                                                 foreign entities without holding a
                                                 license for brokering between
                                                 foreign entities or not pursuant to
                                                 the conditions of the license,
                                                 contrary to section 21.

                          (b)    A person who engages in brokering between
                                 foreign entities in violation of a security council
                                 resolution as stated in section 22, will be
                                 sentenced to 5 years imprisonment or to a fine
                                 fifty times the fine set forth in section 61(a)(4)
                                 to the Criminal Law.


Offenses in 33.    For an offense committed pursuant to section 32(a) in
severe             severe circumstances, the sentence will be five years
circumstances      imprisonment or a fine that is fifty times greater than the fine
                   set out in section 61(a)(4) of the Criminal Law. In this section
                   "severe circumstances" – one of the following:

                   (1)    The defense marketing activity subject as an offence
                          was intended to advance a defense export transaction
                          with the enemy, or the entity destined to receive the
                          defense equipment, defense know-how or defense
                          service regarding which the defense export transaction
                          subject as an offence was carried out is an enemy; in
                          this section, “enemy” - as defined in the Enemy Trade
                          Ordinance, 1939;

                   (2)    The defense know-how, defense equipment or defense
                          service was classified, according to the determination of



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                                the security entity authorized to make security
                                classifications;


                         (3)    The defense marketing activity subject as an offence
                                was intended to advance a defense export transaction
                                with a foreign entity regarding to whom a security
                                council resolution was adopted as set forth in section
                                22, or that the defense export subject as an offence was
                                destined to said foreign entity;

                         (4)    The defense marketing activity or defense export
                                activity subject as an offence was in violation to any
                                one of the stipulations of the defense marketing license
                                or the defense export license, as applicable, pertaining
                                to the restriction on marketing or export to certain
                                countries.

                         (5)    The brokering activity between foreign entities was
                                intended to further a transaction with the enemy.


Responsibility 34.       (a)    An officer in a corporation must supervise and do
of company                      everything possible to prevent offenses pursuant to
officer                         section 32 by the corporation or by any one of its
                                employees; a person who violates this provision, is
                                sentenced to a fine as stated in section 61(a)(4) of the
                                Criminal Law; for this purpose, "an officer"– is an
                                active director, partner, with the exception of a limited
                                partner, or other official whose responsibilities on
                                behalf of the corporation include the areas of
                                responsibility of the committed offense.

                         (b)    Should an offense pursuant to section 32 be committed
                                by the corporation or by any one of its employees, it is
                                held that the officer in the corporation violated his duty
                                pursuant to sub-section(a), unless he/she prove that
                                he/she did their utmost to fulfill his/her duty.



                     Chapter I : Civil Fines and Financial Sanctions


Civil fine     35.       Should the licensing authority have reasonable grounds to
                         assume that an act or a failure to act, that is set out as an
                         offense pursuant to section 32, has occurred, it is authorized to
                         impose a civil fine in the amount of 15% of the fine set out in
                         the same section, upon the person who commits the act or who
                         fails to act.


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Financial     36.     (a)    Should the licensing authority have reasonable grounds
sanction                     to assume that a person did not fulfill his/her reporting
                             obligation pursuant to section 28(a) and (b), it is
                             authorized to impose a financial sanction upon the
                             person in the amount of 3% of the fine set out in section
                             61(a)(3) of the Criminal Law for every day in which the
                             violation continues.

                      (b)    Should the licensing authority have reasonable grounds
                             to assume that a person did not fulfill his/her reporting
                             obligation pursuant to section 28(d), or did not fulfill
                             his/her obligation to keep records pursuant to section 31
                             of this law, it is authorized to impose a financial
                             sanction upon the person in the amount of the fine as set
                             forth in section 61(a)(4) of the Criminal Law.
                        .

Continued 37.         (a)    In a continued violation, except for a violation as stated
violation and                in section 36(a) above, the fiftieth part of the financial
repeated                     sanction or the civil fine that is set out for the same
violation                    violation, will be added for each day the violation
                             continues.

                      (b)    In a repeated violation, a sum that is equal to half the
                             financial sanction or the said fine shall be added to the
                             financial sanction or the civil fine that could have been
                             imposed if it were a first violation; regarding this
                             section "repeated violation" – is the violation of one of
                             the provisions of this law, within two years of the
                             previous violation of the same provision for which a
                             financial sanction or civil fine was imposed upon the
                             violator or for which he/she was convicted.

Reduced       38.     (a)    The licensing authority is not authorized to impose a
sums                         financial sanction or civil fine that is less than the
                             financial sanction or civil fine set out in this chapter
                             unless it is pursuant to sub-section (b).

                      (b)    The Minister, with the Minister of Justice's consent, is
                             authorized to set forth in regulations cases,
                             circumstances and considerations, for which a financial
                             sanction or civil fine may be imposed in an amount that
                             is less than that which is set out in this law, and at rates
                             to be determined by him.




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Payment     39.               (a)     A financial sanction or civil fine shall be paid,
requirement                           according to a written demand by the licensing
                                      authority, within thirty days of its submittal; the
                                      demand will be issued following an advance
                                      notice to the person to whom the demand is
                                      designated, and he/she has been afforded the
                                      opportunity to make his/her arguments; such
                                      notice shall state that due to continued violation
                                      the violator will be imposed an additional civil
                                      fine or financial sanction according to section
                                      37.

                              (b)     The filing of an appeal to the court for
                                      administrative matters against the payment of a
                                      civil fine or financial sanction, in accordance
                                      with items 21(23) or 32(4) of the first addendum
                                      to the Law on the Courts of Administrative
                                      Affairs, 5760 – 2000, does not delay the
                                      payment of the financial sanction or civil fine,
                                      unless the licensing authority has consented to
                                      this or the court has instructed so.

                              (c)     Should an appeal as stated in section (b) above
                                      be accepted, the financial sanction or civil fine
                                      shall be returned, with the addition of linkage
                                      and interest differentials from the day of its
                                      payment until its return.


Updated      40.       The financial sanction and civil fine shall be according to the
sum of the             sum updated on the day of the request of payment, and if
financial              an appeal has been filed and the court discussing the appeal has
sanction and           instructed upon a delay in its payment – according to its
civil fine             updated sum on the day of the decision of the appeal.


Linkage       41.      Should the financial sanction or civil fine not be paid on time,
and interest           linkage differentials shall be added thereto for the arrears
differentials          period until it is paid.

Collection     42.     Financial sanctions and civil fines shall be collected to the State
                       Treasury and the Tax Ordinance (collection) shall apply to their
                       collection.


Maintaining 43.        (a)    A civil fine payment shall not derogate from the
criminal                      criminal responsibility of a person for an offense
responsibility                pursuant to this law.




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                     (b)    Should an indictment be filed against a person for an
                            offense pursuant to this law, this person shall not be
                            charged with a civil fine. In case a civil fine was already
                            paid - the sum paid shall be reimbursed with the
                            addition of linkage and interest differentials from the
                            day of its payment until its reimbursement.


                       Chapter J : Additional Provisions


Preserving law       44.    This law does not derogate from the provisions of any
                            other law.


Implementation       45.    The Minister is in charge of implementing this law and
and regulations             is authorized, upon approval of the Knesset foreign
                            relations committee, to establish regulations for its
                            implementation and to issue orders; regulations
                            regarding sections 14(b), 15(b), 19(b) and 21(b) shall be
                            established in consultation with the minister of foreign
                            affairs and regulations regarding sections 27 and 47(c)
                            shall be established with the consent of the minister of
                            foreign affairs.


Fees                 46.    The Minister may establish in regulations, following
                            authorization by the Knesset Foreign Relations and
                            Defense Committee, fees for license requests and
                            contestation filings pursuant to this law, that shall be
                            paid to the Defense Export Control Division at the
                            Ministry of Defense.


Applicability to     47.    (a)    The provisions of this law shall not apply to the
the State                          state, however they shall apply to defense
                                   marketing or defense export activities regarding
                                   defense equipment, defense know-how or a
                                   defense service, when executed by the party that
                                   developed or produced said equipment or know-
                                   how or provided said service, pursuant to an
                                   agreement between the State of Israel and
                                   another state.

                            (b)    A procedure overseeing defense exports
                                   pursuant to an agreement between the State of
                                   Israel and another state, outside the scope of
                                   section (a), shall be set forth in a government
                                   decision; the minister of defense shall notify the



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                                     Knesset foreign relations committee on that
                                     procedure.

                            (c)      Defense exports pursuant to an agreement
                                     between the State of Israel and another state, of
                                     a scope to be determined in regulations, shall be
                                     submitted by the minister of defense for the
                                     approval of a sub-committee of the ministerial
                                     committee for national security; chaired by the
                                     Prime minister and with the membership of the
                                     minister of defense, the minister for foreign
                                     affairs, the minister of justice and the minister of
                                     finance.


Amendment to the 48.        In the Courts of Administrative Affairs Law, 5760-
Law of the Courts of        2000, in the first addendum following section 29 the
Administrative Affairs      following shall appear:


                            (1) In item 21, following paragraph 22 shall be written:


                                  "(23)         Defense Export Control Law, 5766-
                                  2007";

                            (2) In item 32 –

                                     (a)        In the headline, following "financial
                                                transaction shall be written "and civil
                                                fines";

                                     (b)        Following paragraph (3) shall be written:

                                                "(4) The decision of the licensing
                                                authority under chapter I of the defense
                                                export control law, 5766-2007."


Entry into           49.    (a)      This law shall enter into force on December 31st,
force and                            2007, (in this section – date of entry into force),
transition provisions                 accept for the following sections, which shall
                                     enter into force on a later date as stated below:

                                     (1) Section 19 as well as all other sections in
                                         this law relating to licenses for defense
                                         exports in transit - 30 days from the day the
                                         minister shall publish a notice in the official
                                         gazette;



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                                       (2) Sections 3(a)(2), 21 and 32(a)(5) and (b) - 30
                                           days from the day the minister shall publish
                                           a notice in the official gazette, following
                                           consultation with the minister of foreign
                                           affairs and with the approval of the Knesset
                                           foreign relations committee.

                              (b)      Initial regulations under this law will be
                                       presented to the Knesset foreign relations
                                       committee for its approval no later than October
                                       31st, 2007.

                              (c )     Despite the provisions of this law, a negotiation
                                       permit or an export permit, or a transfer permit
                                       to the Palestinian civilian jurisdiction, which
                                       were granted prior to the date of entry into force,
                                       pursuant to the Control of Commodities and
                                       Services Order (Defense Equipment and
                                       Defense know-how Export), 5752 – 1991 shall
                                       be deemed as though they were granted pursuant
                                       to the provisions of this law and shall continue
                                       to be valid until their expiry, unless cancelled
                                       under the provisions of this law




                              Ehud Olmert                               Ehud Barak
                              Prime Minister                         Minister of Defense


           Shimon Peres                                Dalia Itzik
    President of the State of Israel             Speaker of the Knesset




         Unofficial Translation - MOD, Office of the General Counsel
